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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

BIG CAT RESCUE CORP.,                        )
                                             )
               Plaintiff,                    )
                                             )
v.                                           )         Case No. CIV-16-155-SLP
                                             )
SHIRLEY M. SCHREIBVOGEL and                  )
GREATER WYNNEWOOD                            )
  DEVELOPMENT GROUP, LLC,                    )
                                             )
               Defendants.                   )

            AGREED JUDGMENT AND PERMANENT INJUNCTION

      Pursuant to the agreement and stipulation between Plaintiff Big Cat Rescue Corp.,

a Florida not-for-profit corporation (“BCR”), and Defendant Shirley M. Schreibvogel, the

Court enters judgment for BCR and against Shirley M. Schreibvogel as follows:

      1.       BCR is granted judgment as to liability against Shirley M. Schreibvogel on

BCR’s First Cause of Action – Fraudulent Transfers/Conveyances- Actual Fraud, as set

forth and alleged in BCR’s First Amended Complaint [Doc. No. 21] (the “First Amended

Complaint”).

               a.     Shirley M. Schreibvogel received transfers of funds from and of

      BCR’s judgment debtor The Garold Wayne Interactive Zoological Foundation

      (“Garold Wayne Zoo”) in an amount exceeding $150,000, during the period

      February 20, 2013 through February 28, 2016, each of which was a fraudulent

      transfer under 24 Okla. Stat. § 116(A)(1), and the transfers of funds are avoided

      under 24 Okla. Stat. § 119(A)(1).
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             b.    The 2013 and 2015 leases of the Zoo Land (as hereinafter defined)

      (the “Zoo Land Leases”)1, which Shirley M. Schreibvogel (as lessor) executed with

      Garold Wayne Zoo (as lessee) were not arms-length leases, but rather, were

      documents intended to be used to transfer funds and assets of Garold Wayne Zoo,

      and any successor of Garold Wayne Zoo, to Shirley M. Schreibvogel, so that the

      funds and assets of Garold Wayne Zoo or any successor could not be used to satisfy

      BCR’s judgments against Garold Wayne Zoo and/or BCR’s judgment debtor Joseph

      Allen Schreibvogel f/k/a Joseph Maldonado k/n/a Joseph Maldonado-Passage

      (“Maldonado”).

             c.    Maldonado filed a Chapter 7 bankruptcy in 2013, in a case entitled In

      re Joseph Allen Schreibvogel, in the United States Bankruptcy Court for the Western

      District of Oklahoma, Case No. 13-11430-NLJ (the “Schreibvogel Bankruptcy”).

      L. Win Holbrook, who was duly appointed Chapter 7 Bankruptcy Trustee in the

      Schreibvogel Bankruptcy, on December 10, 2013 filed a Complaint to Avoid

      Fraudulent Transfer against Shirley M. Schreibvogel, initiating an adversary

      proceeding entitled Holbrook v. Schreibvogel, in the United States Bankruptcy

      Court for the Western District of Oklahoma, Adv. Case No. 13-01114-NLJ (the

      “Adversary Proceeding”), alleging that Shirley M. Schreibvogel had received a

      fraudulent transfer of certain real property2 from Maldonado, which transfer was


1
       The 2013 Land Property Lease was dated February 21, 2013, and executed February
22, 2013. The 2015 Land Property Lease was executed May 11, 2015.
2
 The real property that was the subject of the Adversary Proceeding is described as:
Northwest Quarter of the Southwest Quarter of the Southwest Quarter (NW/4 SW/4 SW/4)

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      designed to prevent BCR from collecting its judgment against Maldonado. Shirley

      M. Schreibvogel confessed judgment in the amount of $63,300 in the Adversary

      Proceeding, and paid the resulting judgment using $63,300 in funds belonging to

      the Garold Wayne Zoo (the “Judgment Funds”).           The Judgment Funds were

      fraudulently transferred to Shirley M. Schreibvogel by Garold Wayne Zoo under 24

      Okla. Stat. § 116(A)(1), and the transfers are hereby avoided under 24 Okla. Stat.

      § 119(A)(1).

             d.      Any and all transfers made under any Zoo Land Leases to Shirley M.

      Schreibvogel by Garold Wayne Zoo, or its predecessor G.W. Exotic Animal

      Memorial Foundation, including any improvements made by either entity to the Zoo

      Land, at any time, are void.

             e.      As to defendant Shirley M. Schreibvogel, that defendant received no

      consideration for the transfer of her interest in the Zoo Land to Jeffrey L. Lowe or

      defendant Greater Wynnewood Development Group, LLC (“GWDG”), whether by

      quit claim deed or otherwise. Shirley M. Schreibvogel transferred the Zoo Land via

      quit claim deed to Jeffrey L. Lowe, and then to GWDG, for the purpose of protecting

      the Zoo Land from BCR in execution of its judgments against Maldonado, Garold


of Section Twenty-one (21), Township Two (2) North, Range One (1) East of the I.B.M.,
and the North 165 feet of the East 500 feet of the West 1460 feet of the North Half of the
South Half of the Southwest Quarter (N/2 S/2 SW/4) and the West 300 feet of the Northeast
Quarter of the Southwest Quarter of the Southwest Quarter (NE/4 SW/4 SW/4) and the
West 300 feet of the Northeast Quarter of the Southwest Quarter of the Southwest Quarter
(NE/4 SW/4 SW/4), all in Section Twenty-one (21), Township Two (2) North, Range One
(1) East I.B.M., Garvin County, Oklahoma, containing 16.439 acres more or less (hereafter,
the “Zoo Land”).


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      Wayne Zoo, and G.W. Exotic Animal Memorial Foundation, and any future

      judgment BCR might obtain against Shirley M. Schreibvogel. Further, as to Shirley

      M. Schreibvogel, the two quit claim deeds (as recorded in the real property records

      of Garvin County, Oklahoma, at 1-2015-006819, Book 2112 Page 291 on 9-9-2015,

      and at 1-2016-000991, Book 2128 Page 363 on 2-12-2016, respectively) by Shirley

      M. Schreibvogel for herself, and as power of attorney/attorney in fact for Francis

      Schreibvogel, were fraudulent transfers as to BCR, under 24 Okla. Stat.

      § 116(A)(1).

      2.       BCR is granted judgment as to liability against Shirley M. Schreibvogel on

BCR’s Second Cause of Action – Fraudulent Transfers/Conveyances - Constructive Fraud,

as set forth and alleged in BCR’s First Amended Complaint. The transfers to Shirley M.

Schreibvogel from Garold Wayne Zoo are determined to be fraudulent transfers to Shirley

M. Schreibvogel as set out in the First Amended Complaint, and under 24 Okla. Stat.

§ 116(A)(2), and the transfers are hereby avoided as to BCR under 24 Okla. Stat.

§ 119(A)(1).

      3.       BCR is granted judgment as to liability against Shirley M. Schreibvogel on

BCR’s Third Cause of Action – Constructive Trust, as set forth and alleged in BCR’s

Amended Complaint. BCR is entitled to a constructive trust in certain real and personal

property as follows:

               a.      In 2015, Shirley M. Schreibvogel paid the Judgment against her in the

      Adversary Proceeding with $63,300 in Judgment Funds generated by, and which




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belonged to, BCR’s creditor Garold Wayne Zoo, which Judgment Funds were

fraudulently transferred to Shirley M. Schreibvogel, as determined above.

       b.     The $63,300 payment made by Shirley M. Schreibvogel in 2015 to

satisfy the Judgment entered in the Adversary Proceeding was composed of funds

fraudulently transferred to her by Garold Wayne Zoo under 24 Okla. Stat.

§ 116(A)(1), to prevent BCR from collecting on its judgments against G.W. Exotic

Animal Memorial Foundation, Maldonado and Garold Wayne Zoo, and/or any

future judgment BCR might obtain against Shirley M. Schreibovgel.                The

fraudulently transferred funds were used to obtain clear title to the Zoo Land in the

name of Shirley M. Schreibvogel, in order to prevent BCR from collecting on or

enforcing its judgments against G.W. Exotic Animal Memorial Foundation,

Maldonado and Garold Wayne Zoo.

       c.     Because the $63,300 payment made by Shirley M. Schreibvogel in

2015 to satisfy the Judgment entered in the Adversary Proceeding was composed of

funds fraudulently transferred to her by Garold Wayne Zoo to prevent BCR from

collecting on its judgments against G.W. Exotic Animal Memorial Foundation,

Maldonado and Garold Wayne Zoo, and because Shirley Schreibvogel consented to

further transfers of the Zoo Land without consideration for the purpose of

preventing BCR from enforcing its Judgments against the Zoo Land, BCR is hereby

granted a constructive trust on the Zoo Land as of the date of the payment delivered

to the Chapter 7 Trustee, February 20, 2015, and a constructive trust on all

improvements to the Zoo Land as of February 20, 2015. The constructive trust


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granted BCR as of February 20, 2015 shall follow the Zoo Land through any transfer

of title subsequent to that date.

       d.     Shirley M. Schreibvogel obtained nominal title to four vehicles, and

obtained financing to pay for these vehicles, identified as follows:

              i.      2014 Blue Ford F-150 Crew Cab Half-Ton Pickup, VIN #

       1FTFW1EF2EKF43788; purchase date February 28. 2015;

              ii.     2014 RAM 3500 Pickup, VIN # 3C63RRNL3EG176027;

       purchase date June 7, 2014;

              iii.    2008 GMC Sierra 2500, VIN # 1GTHK23628F179434;

       purchase date March 19, 2015; and

              iv.     2012 Dodge RAM 3500, VIN # 3C63DRKL5CG286500;

       purchase date June 9, 2014;

(collectively, the “Vehicles”). However, despite title being held in the name of

Shirley M. Schreibvogel, the down payment on each of the Vehicles was made with

funds of Garold Wayne Zoo, and every payment made on the financing contracts in

Shirley Schreibvogel’s name concerning each of the Vehicles was paid by Garold

Wayne Zoo with funds it generated in its operations, at least until Garold Wayne

Zoo’s dissolution in 2016. Although an occasional payment was made by money

order or was, on its face, drawn on the checking account of Shirley M. Schreibvogel,

the funds for every one of those payments was generated by, and was the property

of, Garold Wayne Zoo. Further, Shirley M. Schreibvogel, from the respective

purchase dates of each of the four Vehicles, intended that the Vehicles would be


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owned by, and were and would be the property, for all purposes, of Garold Wayne

Zoo.    Although the Vehicles are, or were, nominally titled in Shirley M.

Schreibvogel, the Vehicles, and any equity in them as of February 20, 2016, are

hereby determined to be the property of Garold Wayne Zoo as of the date each

Vehicle was purchased, as set out above, and in the First Amended Complaint [Doc.

No. 21].

       e.     BCR is hereby granted a constructive trust on the Vehicles, as of the

date each Vehicle was purchased, as set out above, in the amount of $30,000 as to

each Vehicle, and BCR is hereby granted a constructive trust in that same amount

in any proceeds from the sale, transfer or disposition of each of the Four Vehicles,

and a constructive trust in any proceeds from any insurance policy on any of the

Vehicles.

       f.     In 2014, Shirley M. Schreibvogel executed two lease purchase

contracts with Affordable Buildings, LLC, through Parks Leasing, LLC, to purchase

two portable buildings to be used, paid for, and owned, by Garold Wayne Zoo. The

buildings are identified as: 12x36 Cabin – Building Inventory No. C-9-23-14-12-

36-1789 – purchase date December 29, 2014; and 12x36 Cabin – Building Inventory

No. C-12-29-14-12-36-1811 – purchase date December 29, 2014 (collectively, the

“Parks Leasing Buildings”).

       g.     In 2015, Shirley M. Schreibvogel executed two additional lease

purchase contracts with Affordable Buildings, LLC, through Bradford Leasing,

LLC, to purchase two portable buildings to be used, paid for, and owned, by Garold


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Wayne Zoo. The buildings are identified as: 12x40 Lofted Porch Cabin – Building

Inventory No. LPC-05-27-14-12-40-1581 –purchase date March 30, 2015; and

12x20 Utility – Building Inventory No. UT-01-27-15-12-20-1813 – purchase date

January 30, 2015 (collectively, the “Bradford Leasing Buildings”).

       h.     Although the financing contracts for the Parks Leasing Buildings and

Bradford Leasing Buildings were in the name of Shirley M. Schreibvogel, Mrs.

Schreibvogel intended the portable buildings to be paid for, and be the property of,

Garold Wayne Zoo, and that Garold Wayne Zoo would build out the portable

building shells and thereby obtain equity in them from the date of their delivery.

       i.     BCR is hereby granted a constructive trust in the Parks Leasing

Buildings and Bradford Leasing Buildings, as of the purchase date of each building,

in the full amounts as follows:

              1.     Parks Leasing, 12x36 Cabin – Building Inventory No. C-9-23-

       14-12-36-1789 – purchase date December 29, 2014 – constructive trust in

       the amount of $10,000;

              2.     Parks Leasing,12x36 Cabin – Building Inventory No. C-12-29-

       14-12-36-1811 – purchase date December 29, 2014 - constructive trust in the

       amount of $10,000;

              3.     Bradford Leasing, 12x40 Lofted Porch Cabin – Building

       Inventory No. LPC-05-27-14-12-40-1581 – purchase date March 30, 2015 -

       constructive trust in the amount of $10,000; and




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                    4.     12x20 Utility – Building Inventory No. UT-01-27-15-12-20-

             1813 – purchase date January 30, 2015 - constructive trust in the amount of

             $10,000.

             j.     BCR is further granted a constructive trust in any proceeds from any

      sale, transfer or disposition of any of the Parks Leasing Buildings and Bradford

      Leasing Buildings, and any proceeds from any insurance policy on any of the Parks

      Leasing Buildings and Bradford Leasing Buildings.

             k.     Shirley M. Schreibvogel holds title to certain mobile homes used as

      staff trailers on the animal park grounds (collectively, the “Trailers”).

             l.     The Trailers are located on the grounds of, and are used by, the animal

      park founded by Shirley M. Schreibvogel and Maldonado, and operated by G.W.

      Exotic Animal Memorial Foundation, until its dissolution, and Garold Wayne Zoo,

      until its dissolution, and are presently used by the Wynnewood, Oklahoma, animal

      park formerly operated by G.W. Exotic Animal Memorial Foundation and Garold

      Wayne Zoo. BCR is hereby granted a constructive trust and equitable lien on the

      Trailers, effective as of March 1, 2013.

      4.     BCR is granted judgment as to liability against Shirley M. Schreibvogel on

BCR’s Fourth Cause of Action – Equitable Lien, as set forth and alleged in BCR’s First

Amended Complaint. BCR is hereby granted an equitable lien in the Zoo Land, and all

improvements, effective as of February 20, 2015. BCR is granted an equitable lien in the

Vehicles, the Parks Leasing Buildings and the Bradford Leasing Buildings, effective as of

the date Shirley Schreibvogel first executed financing or lease contracts for each Vehicle,


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Parks Leasing Building and Bradford Leasing Building, as set out above and in Plaintiff’s

Corrected Motion for Summary Judgment [Doc. No. 105]. BCR is granted an equitable

lien in the Trailers, a of the date of this Order.

       5.      BCR is entitled to, and the Court hereby enters, a Permanent Injunction

against Shirley M. Schreibvogel under 24 Okla. Stat. § 119(A)(3)(a), and Rule 65, Fed. R.

Civ. P. Shirley M. Schreibvogel, and her servants, agents, employees, interns, attorneys,

parents, subsidiaries, predecessors, successors, affiliates, officers, directors, shareholders,

members, managers, principals and assigns, past, present and future, and any and all

persons acting by and under her authority or in concert with them, including any person to

whom she has granted a power of attorney, are enjoined from concealing, transferring,

encumbering, liquidating, destroying, or disposing of 1) the Zoo Land, 2) any real or

personal property of G.W. Exotic Animal Memorial Foundation, Garold Wayne Zoo, or

Maldonado, including but not limited to, any and all tangible and intangible property, the

Vehicles, the Bradford Leasing Buildings, the Park Leasing Buildings, any and all

documents and/or records related to the Vehicles, the Bradford Leasing Buildings, and the

Parks Leasing Buildings, 3) any and all business records of, and any of Shirley M.

Schreibvogel’s documents and/or records related to, Garold Wayne Zoo, Maldonado, and

GWDG, 4) except as may otherwise be agreed to by and between Shirley M. Schreibovgel

and BCR, any right or claim Shirley M. Schreibvogel has with regard to GWDG, 5) Shirley

M. Schreibvogel’s membership interest in GWDG, and 6) any assets or business operations

of Garold Wayne Zoo. This Permanent Injunction shall remain in full force and effect after

the close of this case, or until further order of this Court.


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       6.     Shirley M. Schreibvogel shall provide a copy of this Judgment to all of her

servants, agents, employees, interns, attorneys, parents, subsidiaries, predecessors,

successors, affiliates, officers, directors, shareholders, members, managers, principals, and

assigns, and any person who holds a power of attorney in her name, within forty-eight (48)

hours after entry of this Judgment.

       7.     Notwithstanding the foregoing, BCR is not granted any money judgment

against Shirley M. Schreibvogel.

       8.     BCR and Shirley M. Schreibvogel shall each bear their respective costs and

attorney’s fees incurred in this action.

       IT IS SO ORDERED this 29th day of August, 2019.




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